Case:18-10093-SDB Doc#:58 Filed:03/06/19 Entered:03/06/19 12:40:52                                    Page:1 of 1
                              IN THE UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF GEORGIA
                                         AUGUSTA DIVISION

In the Matter of:                                                       )     Chapter 13
Shatavia Lively                                                         )
P O Box 5485                                                            )     Case No: 18-10093-SDB
Augusta, GA 30916                                                       )

Debtor

                      TRUSTEE'S OBJECTION TO MOTION FOR APPROVAL OF
                          SETTLEMENT OF PERSONAL INJURY CLAIM

        COMES NOW, the Chapter 13 Trustee Huon Le, by and through counsel, and files this objection
to Motion for Approval of Settlement of Personal Injury Claim:

         Debtor has filed a Motion to Approve Settlement. (Doc#56). Debtor seeks leave of Court to
settle a personal injury lawsuit for the gross sum of $17,500 and the net settlement of $9,157.12. Id.
The Trustee has no objection to the amount of the proposed settlement. However, Debtor has not
disclosed and exempted the net settlement. For this reason, the Trustee objects to Debtor’s motion.
       WHEREFORE, the Trustee respectfully prays that she be heard at the hearing on Debtor’s
Motion to Approve Settlement.
         This 6th day of March 2019.


                                                           /s/ Brent Myer
                                                           Brent Myer, Attorney for
                                                           Chapter 13 Trustee Huon Le
                                                           Georgia Bar No. 435191

                                         CERTIFICATE OF SERVICE

         The undersigned hereby certifies that copies of this Objection have been forwarded by either
electronic or first-class mail, postage prepaid, to the above-named Debtor and the parties whose name appears
below, on the 6th day of March 2019.


Seymour & Associates, Attorney At Law, 101 B Rossmore Pl, Augusta, GA 30909

M. Austin Jackson, Jackson Law Office, 531 James Brown Blvd, Augusta, GA 30901



                                                            /s/ Yvonne Ogbuefi
                                                            Office of the Chapter 13 Trustee
                                                            Post Office Box 2127
                                                            Augusta, GA 30903-2127
